                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:05cr253

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
DIONISIO HERNANDEZ (1)                   )
________________________________________ )

       THIS MATTER is before the Court upon second motion of the defendant pro se for a

reduction of sentence based on the retroactive amendments to the United States Sentencing

Guidelines relating to crack cocaine. (Doc. No. 151).

       The Court denied the defendant’s previous motion because his sentence was based on

cocaine, not cocaine base, as called for in his plea agreement. (Doc. No. 139: Order). The

defendant now complains that the presentence report failed to include cocaine base amounts

attributable to him (Doc. No. 151: Motion at 2), although he did not do so at sentencing.

Accordingly, the time has past for objecting to the presentence report and the defendant is not

eligible for a sentence reduction.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.
                                                  Signed: August 27, 2008




    Case 3:05-cr-00253-RJC-DCK            Document 155        Filed 08/27/08     Page 1 of 1
